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FoR THE WEsTERN DISTRICT oF TENNESSEE 95 hug 15 m \1= 31
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UNITED sTATEs oF AMERICA, diagth _ r'{‘i§;h&gliii
Plajmifr,
v. No. 04-20512 B
MUJAHID MUHAMMAD,
Defendant.

 

ORDER DENYING ON MOTION TO RECONSIDER
DEFENDANT'S MOTION TO SUPPRESS

 

In a one-count indictment, the Defendant, Muj ahid Muhammad,1 has been charged with being
a felon in possession of a firearm in violation of 18 U.S.C. § 922(g). The Defendant filed a motion
to suppress evidence obtained during a search at the time of his arrest A hearing was conducted on
May 26, 2005, at the conclusion of which the motion was orally denied. Before the Court is the
Defendant's motion f`or reconsideration of the undersigned's determination

According to the proof adduced at the hearing, Memphis City police officer Tommie Jones
received a dispatch on May 7, 2003 that a group of men were “hanging out and playing music" at the
Pershing Park Apartments in North Memphis. The apartments were on private property and the
management office kept a list of` persons barred from entering the premises2 As J ones arrived at the

building, he heard music and observed three male blacks standing outside the apartments near a

 

lThe indictment names the Def`endant as Muhammad Mujahid. However, as the
pleadings filed by the parties refer to him as Mujahid Muhammad, the Court will follow suit
herein.

2Although J ones did not have a copy of the list with him, it was confirmed at some point
that Muhammad was not on the list.

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vehicle When the men saw him pull up, they began to walk away. Although two of the males
stopped and were detained, the other, later identified as the Defendant, kept walking toward the
apartment, ignoring Jones' instructions to come back. Instead of entering an apartment, Muhammad
walked up the steps and to J one s' right through a glass doorway, and then bent down When he came
back out, the officer detained him, patted him down and asked for identification A radio check
revealed no outstanding warrants Jones then placed the Defendant in the back seat of his police
cruiser. The officer returned to the building, walked up the steps to the top of the stairwell, the
location where he had seen Muhammad bend over, and observed a gun on the floor near the railing.

lt is the position of the Defendant in the instant motion that the mere fact that he walked away
from the officer was not sufficient to establish any more than a "hunch" on the part of Jones, which
falls short of the reasonable suspicion required to sustain an investigatory stop. He further avers that
the continued detention in the back of` the police car after J ones satisfied himself as to Muhammad's
identity became an arrest for which there was no probable cause.

The Fourth Amendment guarantees that the "right of the people to be secure in their persons,
houses, papers, and effects, against unreasonable searches and seizures, shall not be violated, and
no Warrants shall issue, but upon probable cause, supported by Oath or affirmation, and particularly
describing the place to be searched, and the persons or things to be seized." U.S. Const. amend. IV.
Evidence obtained by a search and seizure violative of the Fourth Amendment is not admissible in
a criminal trial. United States v. Wright, 16 F.3d 1429, 1434 (6th Cir.), Lrt. d_er_li_ed, 512 U.S. 1243,
114 S.Ct. 2759, 129 L.Ed.2d 874 (1994).

The Sixth Circuit has identified three types of permissible encounters between citizens and

the police: "(1) the consensual encounter, which may be initiated without any objective level of

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suspicion; (2) the investigative detention, which, if non-consensual, must be supported by a
reasonable, articulable suspicion of criminal activity; and (3) the arrest, valid only if supported by

probable cause." United States v. Waldon, 206 F.3d 597, 602 (6th Cir.), gm denied, 531 U.S. 881 ,

 

121 S.Ct. 193, 148 L.Ed.2d 134 (2000). An investigative detention, as contemplated by w
O_hio_, 392 U.S. 1, 88 S.Ct. 1868, 20 L.Ed.2d 889 (1968), requires neither probable cause nor a search
warrant and is ajudicially carved-out exception to the general Fourth Amendment rule. McPherson
v. Kelsey, 125 F.3d 989, 993 (6th Cir. 1997), c_e_rL Aen_igl, 523 U.S. 1050, 118 S.Ct. 1370, 140
L.Ed.2d 518 (1998). The Constitution is satisfied with respect to an investigative stop if the officer‘s
action is supported by a "reasonable suspicion" to believe that criminal activity may be afoot, even

if probable cause is absent. United States v. Arvizu, 534 U.S. 266, 273, 122 S.Ct. 744, 750, 151

 

L.Ed.2d 740 (2002); United States v. Bailey, 302 F.3d 652, 658 (6th Cir. 2002). The officer,
however, must be able to point to specific and articulable facts justifying his reasonable suspicion
that the suspect has been or is about to be involved in criminal activity. An inarticulate hunch is not
sufficient to support an investigative stop under “_l`_tlry. United States v. Martin, 289 F.3d 392, 396
(6th Cir. 2002).

In effecting a Te_rry stop, an officer may briefly detain an individual for investigative
purposes United States v. Burns, 298 F.3d 523, 541 (6th Cir. 2002), gem Mc_i, 538 U.S. 953, 123
S.Ct. 1643, 155 L.Ed.2d 500 (2003). He is permitted to ask the person “a moderate number of
questions to determine his identity and to try to obtain information confirming or dispelling the
officer's suspicions." Magm, 289 F.3d at 396-97. In considering whether such a stop was valid, the
Court must look at the totality of the circumstances--the whole picture. Ld. at 396.

Nervous and evasive behavior are pertinent factors in the determination of reasonable

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suspicion Weaver v. Shadoan, 340 F.3d 398, 408 (6th Cir. 2003), Lh'g _an_d suggestion _fgr_ r_eh_'g g
king deLed_ (Nov. 25, 2003) (citing Illinois v. Wardlow, 528 U.S. 119, 124, 120 S.Ct. 673, 145
L.Ed.2d 570 (2000)). ln addition, courts have found that a "seizure" occurs for purposes of the
Fourth Amendment in the context of an arrest based on probable cause or an investigative stop under
T_er_ry when physical force is applied by the police on the suspect; or when the suspect submits to an
officer's assertion of authority. A "show of authority“ is insufficient if the suspect does not in fact

yield. §§ California v. Hodari D., 499 U.S. 621, 626-27, 111 S.Ct. 1547, 1551, 113 L.Ed.2d 690

 

(1991); United States v. Mcannon, No. 04-5418, 133 Fed. Appx. 167, 169-70 (6th Cir. 2005);

United States v. Thomas, No.02-5516, 77 Fed. Appx. 862, 864-65 (6th Cir. 2003); United States v.

 

Barker, No. 01-6239, 69 Fed. Appx. 208, 212 (6th Cir. 2003); United States v. Matthews, 278 F.3d

560, 562 (6th Cir.), ge_rt. denied, 535 U.S. 1087, 122 S.Ct. 1991, 152 L.Ed.2d 1038 (2002); United

 

States v. Hebron, 243 F.Supp.2d 90, 94-95 (D. Del. 2003). Specifically, an officer's instruction to
a suspect to "stop" is not a seizure for purposes of the Fourth Amendment § Matthews, 278 F.3d

at 562. In Hodari, the Supreme Court held that an item discarded by the suspect while fleeing may

 

be used against him as it was not the fruit of a seizure Hodari D., 499 U.S. at 629, 111 S.Ct. at
1552.

In this case, Officer J ones was responding to a complaint concerning males "hanging out"
around an apartment complex. lt is undisputed that, when the officer came upon the group, the
Defendant immediately walked away and did not comply with Jones' show of authority until after
he dropped the gun in the stairwell of the apartment building As he had not been "seized" at that
point, the firearm was not the "fruit" of a seizure. §§ Hodari D., 499 U.S. at 629, 11 1 S.Ct. at 1552;

Thornas, 77 Fed. Appx. at 864-65. Based on his evasive conduct and the appearance that he

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attempted to hide something in the stairwell, Officer J ones was justified in putting Muhammad in
the back of his cruiser until he investigated further. Contrary to the Defendant's contentions, placing
a suspect in the back seat of a police vehicle during a Teg; investigation is not p_er g unreasonable

United States v. Terrell, No. 02-6072, 95 Fed. Appx. 746, 748 (6th Cir. 2004), Lrt. denied, _M_U.S.

 

____, 124 S.Ct. 2860, 159 L.Ed.2d 282, 72 U.S.L.W. 3749 (U.S. June 14, 2004) (No. 03-10292).
Viewing the totality of the circumstances, the Court finds that the stop did not violate the Fourth

Amendment3 Accordingly, on reconsideration, the motion to suppress is DENIED.

IT ls so 0RDERED this llq?`day of Augusr, 2005.

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J A IEL BREEN \`_
1 D sTATEs DlsrRIcT JUDGE

 

3The Defendant has cited United States v. Visnich, No. 00-4141, 2002 WL 336956 (6th
Cir. Feb. 28, 2002), apparently for the proposition that detention in the back seat of a police car
constitutes an arrest. However, the court did not find that such detention was pg se unreasonable
and, indeed, concluded that the "police clearly had a reasonable basis in fact to detain Visnich to
investigate the burglary complaint." Visnich, 2002 WL 336956, at *3.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CR-20512 was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

